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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                              :
  IN RE: PHILIPS RECALLED CPAP,               :   Master Docket: No. 21-mc-1230-JFC
  BI-LEVEL PAP, AND MECHANICAL                :
  VENTILATOR PRODUCTS                         :   MDL No. 3014
  LITIGATION                                  :
                                              :
  This Document Relates to:                   :
                                              :
  All Personal Injury and Medical             :
  Monitoring Actions                          :
                                              :

           [PROPOSED] ORDER GRANTING KONINKLIJKE PHILIPS N.V.’S
                     MOTION FOR LEAVE TO FILE REPLY

                AND NOW, this __________ day of ____________, 2024, upon consideration of

KPNV’s Motion for Leave to File Reply in Further Support of Its Request for Judicial Notice (the

“Motion”), it is HEREBY ORDERED that the Motion is GRANTED. KPNV is granted leave

to file its Reply.



                                                   ____________________________________
                                                   HONORABLE JOY FLOWERS CONTI
                                                   Senior United States District Judge
